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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

BRITTANEY BAILEY,                                §
on behalf of herself and all others              §
similarly situated,                              §
                                                 §
                   Plaintiff,                    §
                                                 §   CIVIL ACTION NO: 2:17-cv-77
       vs.                                       §
                                                 §
HOWBRO INVESTMENTS, LTD                          §
D/B/A BUFFALO WILD WINGS;                        §
BWWGP, INC.; KENDALL HOWARD;                     §
LUBBOCK BWW MGMT, LLC;                           §
WOLFFORTH WINGS, LTD D/B/A                       §
BUFFALO WILD WINGS; HOW NO. 1,                   §
INC.; LUBBOCK WILD WINGS, LTD                    §
D/B/A BUFFALO WILD WINGS;                        §
MIDLAND WINGS, LTD D/B/A BUFFALO                 §
WILD WINGS; PERMIAN BWW                          §
MGMT, LLC; ODESSA WINGS,                         §
LTD D/B/A BUFFALO WILD WINGS;                    §
AMARILLO WILD WINGS, LTD D/B/A                   §
BUFFALO WILD WINGS; AMARILLO                     §
BWW MANAGEMENT, LLC; and EAST                    §
AMARILLO WINGS, LTD; D/B/A                       §
BUFFALO WILD WINGS;                              §
                                                 §
       Defendants.                               §


                     JOINT MOTION TO DISMISS WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Brittaney Bailey,

and Defendants Howbro Investments, Ltd d/b/a Buffalo Wild Wings, BWWGP, Inc., Kendall

Howard, Lubbock BWW Mgmt, LLC, Wolfforth Wings, Ltd d/b/a Buffalo Wild Wings, How

No. 1, Inc., Lubbock Wild Wings, Ltd d/b/a Buffalo Wild Wings, Midland Wings, Ltd d/b/a

Buffalo Wild Wings, Permian BWW Mgmt, LLC, Odessa Wings, Ltd d/b/a Buffalo Wild Wings,

Amarillo Wild Wings, Ltd d/b/a Buffalo Wild Wings, Amarillo BWW Management, LLC and


JOINT MOTION TO DISMISS WITH PREJUDICE                                                        1
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East Amarillo Wings, Ltd d/b/a Buffalo Wild Wings, file this Joint Motion for Dismissal with

Prejudice, dismissing with prejudice all claims and causes of action that Plaintiff has asserted in

the above-referenced lawsuit. Each party shall bear its/her own costs and expenses.

Date: August 15, 2018

                                             YOUNG & NEWSOM, PC


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JOINT MOTION TO DISMISS WITH PREJUDICE                                                           2
